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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION


NATIONAL RIFLE ASSOCIATION OF
AMERICA,

                Plaintiff/Counter-Defendant,

v.                                                  Civil Action No.: 1:18-cv-00639-LO-JFA

LOCKTON AFFINITY SERIES OF
LOCKTON AFFINITY, LLC, and
KANSAS CITY SERIES OF LOCKTON
COMPANIES, LLC,

                Defendants/Counter-Plaintiffs.


             JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

        Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff/Counter-

Defendant National Rifle Association of America and Defendants/Counter-Plaintiffs Lockton

Affinity Series of Lockton Affinity, LLC and Kansas City Series of Lockton Companies, LLC, by

their respective undersigned counsel, hereby stipulate to the dismissal of the above-captioned

action in its entirety, without prejudice. Each party shall bear its own costs and attorneys’ fees

incurred in this action.
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Dated: November 15, 2018

Respectfully submitted,                   Respectfully submitted,

NATIONAL RIFLE ASSOCIATION                LOCKTON AFFINITY SERIES OF LOCKTON
OF AMERICA                                AFFINITY, LLC, and KANSAS CITY SERIES
                                          OF LOCKTON COMPANIES, LLC

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                                CERTIFICATE OF SERVICE

       I certify that on November 15, 2018, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system, which will send notification of such filing to counsel of

record, including:

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